     Case 1:25-cv-00698-TSC       Document 29      Filed 03/18/25   Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CLIMATE UNITED FUND

              Plaintiff,

        v.                                          Civil Action No. 25-cv-698

CITIBANK, N.A., et al.

              Defendants.


COALITION FOR GREEN CAPITAL

              Plaintiff,

        v.                                          Civil Action No. 25-cv-735

CITIBANK, N.A., et al.

              Defendants.


POWER FORWARD COMMUNITIES,
INC.

              Plaintiff,
                                                    Civil Action No. 25-cv-762
        v.

CITIBANK, N.A., et al.

              Defendants.




                                     Page 1 of 2
          Case 1:25-cv-00698-TSC         Document 29         Filed 03/18/25       Page 2 of 2




                                              ORDER

          For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 28,

Plaintiff’s Motion for Temporary Restraining Order is GRANTED in part and DENIED in part.

It is further

          ORDERED that EPA Defendants and Citibank are enjoined from giving effect to EPA

Defendants’ Termination Letter, pending a determination on the merits; it is further

          ORDERED that EPA Defendants are enjoined from transmitting or taking action to

implement the termination of Plaintiffs’ grants, including taking action that results in the

transfer, re-obligation, or re-allocation of the grant funds in Plaintiffs’ Citibank accounts, or

issuing a Notice of Exclusive Control under its agreements; it is further

          ORDERED that Defendant Citibank is enjoined from moving or transferring Plaintiffs’

grant funds to any party other than the accountholders, absent an Order from this court; it is

further

          ORDERED that Defendant Citibank shall file a status report by Monday, March 24,

2025, apprising the court of the status of its compliance with this Order; and it is further

          ORDERED that the parties shall meet and confer regarding further proceedings,

including any proposed briefing schedule, and file a joint status report with the parties’ positions

by Wednesday, March 19, 2025, at 2 PM EST.



Date: March 18, 2025
                                                   Tanya S. Chutkan
                                                   TANYA S. CHUTKAN
                                                   United States District Judge




                                             Page 2 of 2
